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                   Thomas-Jensen
                    Affirmation



                     Exhibit # 121
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                                           UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF RHODE ISLAND



              STATE OF NEW YORK; et al.,

                               Plaintiffs,

                      v.                                               C.A. No. 1:25-cv-00039-JJM-PAS

              DONALD TRUMP, in his official capacity as
              President of the United States; et al.,

                               Defendants.



                                             DECLARATION OF JOSHUA SMITH
                              I, Joshua Smith, declare as follows:
                     1.       I am a resident of the State of Wisconsin. I am over the age of 18 and have

             personal knowledge of all the facts stated herein, except to those matters stated upon information

             and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

             testify competently to the matters set forth below.

                     2.       I am currently employed by the Universities of Wisconsin as Senior Associate

             Vice President for Finance.

                     3.       The Universities of Wisconsin are a premier system of public higher education

             serving more than 164,000 students and awarding nearly 37,000 degrees annually. Through a

             constellation of 13 universities statewide, the Universities of Wisconsin are a tremendous

             academic, cultural, and economic resource for Wisconsin, the nation, and the world. Two

             nationally recognized Research I universities in Madison and Milwaukee, together with

             Wisconsin’s only Polytechnic university and 10 comprehensive universities, offer a wide variety

             of undergraduate and graduate degree programs – including doctoral and professional degrees.

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                     4.       As Senior Associate Vice President for Finance, I provide oversight to the

             financial administration, financial reporting, financial policies, and budget operations of the

             Universities of Wisconsin. My responsibilities include helping to ensure accuracy, transparency,

             compliance with applicable federal and state laws, and a strong financial position in support of

             students and the academic missions of all UW universities.

                     5.       In Fiscal Year (FY) 2024-25, the Universities of Wisconsin operating budget

             totaled $7.98 billion from all sources, including from the State of Wisconsin, tuition and fees,

             general program operations, federal funding, and gifts, grants, and contracts. Of this amount,

             $1.82 billion is federal funding, including $735.4 million in student financial assistance.

                     6.       In FY 2023-24, the Universities of Wisconsin expended $1.84 billion from federal

             funding. This included $745.5 million from the Department of Education, including $703.4 for

             student financial assistance and nearly $11.8 million for the TRIO cluster of programs used to

             support disadvantaged students, including low-income students and those with disabilities. UW

             universities expended $1.18 billion on research and development activities through 25 federal

             agencies.

                     7.       Any pause in federal funding, particularly without requisite notice, would cause

             immediate and significant disruption and negative financial impacts. For example, students rely

             on federally funded research projects both for compensation and as part of their academic

             programs. Pausing federal funding, even for a short period, would make inaccessible the source

             of payroll funding for staff, throwing the livelihoods of these individuals and their families into

             disarray. As a consequence, universities may be required to compensate federally funded staff

             from unbudgeted nonfederal sources to comply with notice requirements related to position

             actions, negatively impacting university financial position. Research projects that require daily



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             activities and meticulous record-keeping may be ruined, setting back the research enterprise and

             wasting the federal investment.

                     8.       Even in the absence of a pause in federal funding, the continued specter of future

             federal actions, including through the possible lifting of the temporary restraining order, has a

             negative effect on the universities. Students who are unsure whether federal financial assistance

             may be available for the remainder of the semester may preemptively drop out before incurring

             costs they cannot afford. Federally funded staff who question whether funding will be available

             may look to leave the university. Staff resources will be redirected from the educational mission

             of the Universities of Wisconsin to administrative and legal work. The general uncertainty in the

             middle of a semester will continue to cause undue stress of students, families, and staff.

                     9.       Not including financial aid, it is estimated that the Universities of Wisconsin

             receive an average of $19.5 million in federal revenue per week. These funds support an average

             of $11.0 million in weekly salaries and fringe benefit costs for more than 10,000 employees, as

             well as a weekly average of $6.1 million in payments to vendors. Approximately 1,500 different

             vendors each month provide goods and services to support federally funded research and

             programs at the Universities of Wisconsin.

                     10.      During the week of January 27, UW universities received communications from

             numerous federal agencies with inconsistent and sometimes vague messages regarding

             implementation of Office and Management and Budget Memorandum M-25-13 and various

             Executive Orders. For example, eight UW universities reported receiving communication from

             the National Science Foundation and were unable to draw down NSF funding. On January 28,

             the University of Wisconsin-Platteville was unable to draw down federal funds for TRIO




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             programs through the Department of Education’s G-5 payment system due to stop payment flag,

             whereas other UW universities did not experience this restriction for their TRIO programs.

                     11.      We continue to be concerned that the funding will again be delayed or denied,

             including due to the temporary nature of the restraining order and ongoing communications

             regarding continued federal agency review of recent Executive Orders. Further, federal agencies

             have not provided precise definitions of terms, such as “DEIA” or “undue burden” as it relates to

             the “identification, development, or use of domestic energy sources,” which may cause

             inconsistent direction from federal agencies and confusion among the universities as to which

             programs and expenditures to cease. This could create financial exposure and liability for UW

             universities if federal agencies capriciously choose to designate expenditures as not allowable

             under grant terms and conditions or to impose other sanctions.



                   I declare under penalty of perjury that the foregoing is true and correct.

                              Executed on February 5, 2025, at Madison, Wisconsin




                                                             _____________________________________
                                                                    Joshua Smith




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